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                   Exhibit B
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Chris Boutwell

From:                             Jack Alltmont <jalltmont@dheclaims.com>
Sent:                             Wednesday, January 15, 2014 3:54 PM
To:                               Chris Boutwell
Cc:                               Cantor, Daniel A.; jgoodwin@bro; Tracy Steilberg
Subject:                          RE: Bookit.com, Inc.; Claim No. 2838(BEL)



Chris:
I have been advised that I am not authorized to actually file pleadings w/ the court on behalf of the program.
Hence please convert your join motion to a unilateral motion on behalf of the claimant. State that you are
filing on my recommendation since BP has stated in writing its non‐opposition and that but for the injunction
as to paying BEL claim, the matter is ripe to pay since BP has withdrawn its appeal and stated its non‐
opposition to the payment.

Dan:
If this is not correct, please advise at once
Suggestion:
If this is not objectionable, you could speed it up by so advising the court and stating that the order can issue
w/o delay and w/o hearing.

Thanks,
Jack



From: Chris Boutwell <Chris.Boutwell@BeasleyAllen.com>
Sent: Wednesday, January 15, 2014 2:55 PM
To: Jack Alltmont
Cc: Rhon Jones; Will Fagerstrom; Erica Langley; 'jgoodwin@browngreer.com'; Frank Trani
Subject: RE: Bookit.com, Inc.; Claim No. 2838(BEL)

Jack and Jennifer,

I have not seen a notice of filing come through Lexis File and Serve Xpress. Will you please let me know if the motion
has been filed? My client if asking me often. Thank you for your help.

Christopher D. Boutwell
Shareholder

From: Jack Alltmont [mailto:jalltmont@dheclaims.com]
Sent: Tuesday, January 14, 2014 10:56 AM
To: Chris Boutwell
Cc: Rhon Jones; Will Fagerstrom; Erica Langley; 'jgoodwin@browngreer.com'; Frank Trani
Subject: RE: Bookit.com, Inc.; Claim No. 2838(BEL)

Chris:


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Jennifer and I reviewed and approved your form of Joint Motion yesterday w/ one minor addition just stating
that the draft thereof had been sent to BP's counsel . We will file the motion hopefully today.
Jack


From: Chris Boutwell <Chris.Boutwell@BeasleyAllen.com>
Sent: Monday, January 13, 2014 2:19 PM
To: Jack Alltmont
Cc: Rhon Jones; Will Fagerstrom; Erica Langley; 'jgoodwin@browngreer.com'; Frank Trani
Subject: RE: Bookit.com, Inc.; Claim No. 2838(BEL)

Mr. Alltmont,

I am still looking for any information you can give me regarding the status of Bookit.com, Inc.’s claim.

Christopher D. Boutwell
Shareholder

From: Chris Boutwell
Sent: Thursday, January 09, 2014 11:06 AM
To: 'jalltmont@dheclaims.com'
Cc: Rhon Jones; Will Fagerstrom; Erica Langley; 'jgoodwin@browngreer.com'; 'ftrani@dheclaims.com'
Subject: RE: Bookit.com, Inc.; Claim No. 2838(BEL)

Jack,

Thank you for your assistance with Bookit.com’s appeal and remand thus far. Please confirm your receipt of the draft
motion to allow Bookit.com’s claim to be paid that I emailed to you yesterday afternoon. Please let me know if we need
to make any changes to the draft. Also, please advise whether you prefer the Appeals Coordinator, Claims
Administrator, or Claimant to file the motion. Since BP has consented to the filing (and granting) of this motion and
considering that Bookit.com has been designated as a hardship claimant, it is my hope and request that this motion be
filed with the Court today. From the Claimant’s point of view I see no reason why it cannot be filed today, but please let
me know immediately if there are valid reasons on your end that the motion cannot be filed today and whether we may
be able to assist you in resolving those.

I look forward to receiving your update regarding the status of this matter. You may reach me by email or telephone
(334) 269‐2343, extension 307.

Christopher D. Boutwell
Shareholder

From: Chris Boutwell
Sent: Wednesday, January 08, 2014 5:32 PM
To: 'Cantor, Daniel A.'; 'jalltmont@dheclaims.com'
Cc: Rhon Jones; Will Fagerstrom; Erica Langley; 'jgoodwin@browngreer.com'; 'ftrani@dheclaims.com'
Subject: RE: Bookit.com, Inc.; Claim No. 2838(BEL)

Jack,

Please see the attached proposed JOINT MOTION TO LIFT THE PRELIMINARY INJUNCTION RELATED TO BEL CLAIMS FOR
THE SOLE AND LIMITED PURPOSE OF PAYING SETTLEMENT PROCEEDS TO CLAIMANT BOOKIT.COM, INC. I was not sure


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whether you or the Claims Administrator would be filing the motion. If you need me to make changes to the proposed
motion please let me know. Also, I will send a proposed order if you would like for me to do so.

Since Bookit has been granted hardship status I would ask that this motion be filed as soon as possible.

Please let me know if you have any questions. Thank you.

Christopher D. Boutwell
Shareholder

From: Chris Boutwell
Sent: Wednesday, January 08, 2014 11:10 AM
To: 'Cantor, Daniel A.'; 'jalltmont@dheclaims.com'
Cc: Rhon Jones; Will Fagerstrom; 'Erica.Langley@Beasley.Allen.com'; 'jgoodwin@browngreer.com';
'ftrani@dheclaims.com'
Subject: RE: Bookit.com, Inc.; Claim No. 2838(BEL)

Thank you Dan. We will have a draft of a motion for everyone to review sometime early this afternoon.

Chris
Christopher D. Boutwell
Shareholder

From: Cantor, Daniel A. [mailto:Daniel.Cantor@APORTER.COM]
Sent: Wednesday, January 08, 2014 11:04 AM
To: 'jalltmont@dheclaims.com'; Chris Boutwell
Cc: Rhon Jones; Will Fagerstrom; 'Erica.Langley@Beasley.Allen.com'; 'jgoodwin@browngreer.com';
'ftrani@dheclaims.com'
Subject: Re: Bookit.com, Inc.; Claim No. 2838(BEL)

Jack,

if you or Chris file a motion, you may indicate that BP does not object to the payment of the BookIt claim in the amount
of the eligibility notice.?? This is limited solely to the BookIt claim.?? Thanks.

Dan
??


Daniel Cantor
Arnold & Porter LLP
555 12th Street, NW
Washington, DC 20004

Telephone: 202.942.5765
Cell Phone: 240.606.4939
Daniel.Cantor@aporter.com

From: Jack Alltmont [mailto:jalltmont@dheclaims.com]
Sent: Tuesday, January 07, 2014 04:26 PM Eastern Standard Time
To: Cantor, Daniel A.; Chris.Boutwell@BeasleyAllen.com <Chris.Boutwell@BeasleyAllen.com>
Cc: Rhon.Jones@BeasleyAllen.com <Rhon.Jones@BeasleyAllen.com>; Will.Fagerstrom@BeasleyAllen.com
<Will.Fagerstrom@BeasleyAllen.com>; Erica.Langley@Beasley.Allen.com <Erica.Langley@Beasley.Allen.com>;
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jgoodwin@browngreer.com <jgoodwin@browngreer.com>; Frank Trani <ftrani@dheclaims.com>
Subject: RE: Bookit.com, Inc.; Claim No. 2838(BEL)

Dan:
Per our exchange of emails earlier today, I understand that BP has no objection to the Claims Administrator
paying this claim in the amount of $6,111,412.42. However, I am mindful that there is an outstanding court
order prohibiting payment of any BEL claims. Hence, in order to make the payment, we will need to get an
order from the court lifting the stay for the limited purpose of paying this claim. Will BP join me in a stipulation
or motion for such limited lifting of the stay?
If so, will your office draft it or should I prepare a draft for your consideration? If you feel that some other
approach is appropriate, please advise. In any case, please get back to me as soon as you can so that we can
make this payment now if indeed there is no problem in us doing so.

jack



From: Cantor, Daniel A. <Daniel.Cantor@APORTER.COM>
Sent: Tuesday, January 07, 2014 8:24 AM
To: Jack Alltmont; Chris.Boutwell@BeasleyAllen.com
Cc: Rhon.Jones@BeasleyAllen.com; Will.Fagerstrom@BeasleyAllen.com; Erica.Langley@Beasley.Allen.com;
jgoodwin@browngreer.com; Frank Trani
Subject: RE: Bookit.com, Inc.; Claim No. 2838(BEL)

All,

Happy New Year. Please be advised that without any admission or waiver of any rights, BP withdraws its appeal of claim
2838. Thanks

Dan




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